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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                                                             11/1/2020
                                                          :
CHARLES CORBISHLEY,                                       :
                                                          :
                                        Plaintiff,        :
                                                          :               20-cv-7445 (VSB)
                      -against-                           :
                                                          :                    ORDER
ANDREW NAPOLITANO,                                        :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        In light of my October 21, 2020 Opinion and Order (Doc. 16,) the Clerk of Court is

respectfully directed to transfer the case forthwith to the District of New Jersey. The seven-day

waiting period set forth in Local Rule 83.1 shall be waived.

SO ORDERED.

Dated: November 1, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
